               Case 5:24-cr-00573-JKP      Document 48        Filed 03/19/25   Page 1 of 5

                                     FEDERAL PUBLIC DEFENDER
                                      WESTERN DISTRICT OF TEXAS
   MAUREEN SCOTT FRANCO                     300 CONVENT STREET                            TELEPHONE
    FEDERAL PUBLIC DEFENDER                      SUITE 2300                             (210) 472-6700
                                       SAN ANTONIO, TEXAS 78205-3744                      TOLL FREE
        JUDY F. MADEWELL                                                                (855) 867-3570
         FIRST ASSISTANT
                                                                                          FACSIMILE
                                             March 19, 2025
   CHRISTOPHER J. CARLIN | ALPINE                                                       (210) 472-4454
   HORATIO R. ALDREDGE | AUSTIN
  BIANCA ROCHA DEL RIO | DEL RIO                                                              ALPINE
   REGINALDO TREJO, JR. | EL PASO                                                            AUSTIN
     EDGAR HOLGUIN | EL PASO                                                                 DEL RIO
   ANTHONY J. COLTON | MIDLAND                                                               EL PASO
KRISTIN M. KIMMELMAN | SAN ANTONIO                                                           MIDLAND
      LEWIS B. GAINOR | WACO                                                                  PECOS
      SUPERVISORY ASSISTANTS                                                                  WACO


     DELIVERED VIA E-MAIL

     Zachary W. Parsons
     U.S. Attorney's Office
     601 NW Loop 410, Suite 600
     San Antonio, TX 78216

              Re:      United States v. Felix Rodriguez-Vargas,
                       Cause No. 24-CR-00573-JKP

     Dear Zachary,

            Pursuant to Federal Rules of Criminal Procedure 12, 16, and 26.2; the Local
     Rules, the Court’s Standing Discovery Order issued July 21, 2023 (Doc. No. 15);
     Brady v. Maryland, 373 U.S. 83 (1963), and all other applicable rules and statutes, I
     am writing to request discovery (inspect and copy) in the above-mentioned case, and
     that all potentially discoverable materials be preserved. I look forward to your
     response, either in writing or through additional discovery, on or before April 30,
     2025.

           To the extent any discovery exists that was not already disclosed, Mr.
     Rodriguez-Vargas requests discovery, including disclosure of all of Mr. Rodriguez-
     Vargas’ and Mr. Edwin Pelayo’s written or recorded statements.

           All items within the government’s possession, custody, or control that (a) are
     material to preparing the defense including but not limited to, the guns seized at the
         Case 5:24-cr-00573-JKP    Document 48     Filed 03/19/25      Page 2 of 5
Page 2                                                         FEDERAL PUBLIC DEFENDER
                                                                    WESTERN DISTRICT OF TEXAS



scene, (b) the Government intends to use in its case-in-chief at trial, or (c) were
obtained from or belong to Mr. Rodriguez-Vargas; and results of reports of physical
or mental examination and of scientific tests or experiments made in connection with
the case.

      In addition to the general discovery request of the preceding paragraph, Mr.
Rodriguez-Vargas specifically requests the following:

   1) Evidence Seized. The Defendant requests the opportunity to inspect and to
      copy or photograph evidence seized as a result of any search, either
      warrantless or with a warrant. FED. R. CRIM. P. 16(a)(1)(E). Specifically:

         a. The gun seized from Mr. Pelayo’s truck and the guns seized from Mr.
            Vargas-Rodriguez and Mr. Pelayo’s person.

         b. All adds and listings on Gun Trader and other gun platforms for the gun
            which is the subject of this indictment.

         c. All cellphone dumps performed on Mr. Rodriguez-Vargas and Mr.
            Pelayo’s phones.

         d. All MDT records, dispatch records originating from this arrest.

   2) Items Material to the Defense and/or Tending to Exculpate the Defendant. The
      Defendant requests all documents, statements, agents’ reports, and tangible
      evidence favorable to the Defendant on the issue of guilt and/or which affects
      the credibility of the Government’s case. Specifically, the Defendant requests
      that the Government disclose the following for inspection and copy pursuant
      to Rule 16(a)(1)(E)(i) and Brady.

   3) Other Crimes, Wrongs or Acts The Defendant requests any evidence covered
      by Federal Rule of Evidence 404(b) that the Government intends to offer at
      trial and notice of the Government’s intent to offer such evidence.

   4) Request for Preservation of Evidence The Defendant requests that all
      videotapes, dispatch tapes, or any other physical evidence including
      investigation reports and notes that may be destroyed, lost, or otherwise put
      out of the possession, custody, or care of the Government and which relate to
         Case 5:24-cr-00573-JKP       Document 48     Filed 03/19/25      Page 3 of 5
Page 3                                                             FEDERAL PUBLIC DEFENDER
                                                                       WESTERN DISTRICT OF TEXAS



         the arrest or the events leading to the arrest in this case be preserved, including
         but not limited to:

         a. That the Government, including this Office and agents and agencies
            involved in this arrest and investigation, preserve the agents’ notes and
            reports related to any investigation of the alleged facts forming the basis
            of this case. Preservation of rough notes is specifically requested whether
            or not the Government deems them discoverable at this time. See Arizona
            v. Youngblood, 488 U.S. 51, 58 (1988); United States v. Bufalino, 576 F.2d
            446, 449 (2d Cir. 1978); see also 18 U.S.C. § 3550; Brady v. Maryland,
            373 U.S. 83 (1963); United States v. Welch, 810 F.2d 485, 490 (5th Cir.
            1987).

         b. That the Government, including this Office and agents and agencies
            involved in this arrest and investigation, preserve any audio or video
            recordings of the alleged incident and any witness interviews, including
            but not limited to bodycam or dashcam footage.

   5) Expert Witnesses Pursuant to Federal Rule of Criminal Procedure
      16(a)(1)(G), the defendant requests disclosure of the identities, qualifications,
      and testimony of any expert witnesses the government intends to call at trial,
      including a summary of such witnesses opinions, copies of any summaries or
      reports made, underlying data the expert relies on, the expert’s resume and a
      list of cases in which he had previously testified. See United States v. Holland,
      223 F. App’x 891, 894 (11th Cir. 2007).

   6) Informants or Cooperating Witnesses The Defendant requests all relevant
      information concerning any informants or cooperating witnesses involved in
      this case. At a minimum, the Government is obligated to disclose the
      identification and location of any informants or cooperating witnesses, as well
      as the identity and location of any other prospective witnesses unknown to the
      Defendant. Roviaro v. United States, 353 U.S. 53, 61-62 (1957) (“Where the
      disclosure of an informer’s identity, or of the contents of his communication,
      is relevant and helpful to the defense of an accused, or is essential to a fair
      determination of a cause, the privilege must give way.”).

   7) Names of Witnesses Favorable to the Defendant. The Defendant requests the
      name of any witness who made an arguably favorable statement concerning
      the Defendant. Jackson v. Wainwright, 390 F.2d 288, 298 (5th Cir. 1968);
         Case 5:24-cr-00573-JKP      Document 48     Filed 03/19/25      Page 4 of 5
Page 4                                                           FEDERAL PUBLIC DEFENDER
                                                                      WESTERN DISTRICT OF TEXAS



         Chavis v. North Carolina, 637 F.2d 213, 223 (4th Cir. 1980); Jones v. Jago,
         575 F.2d 1164, 1168 (6th Cir.), cert. denied, 439 U.S. 883 (1978).

   8) Impeachment and Credibility of Prospective Government Witnesses.
      Impeachment as well as exculpatory evidence falls within Brady’s definition
      of evidence favorable to the accused. United States v. Bagley, 473 U.S. 667,
      676 (1985).

         a. Pursuant to Giglio v. United States, 405 U.S. 150 (1972), the Defendant
            requests all statements and/or promises, express or implied, made to any
            Government witnesses, in exchange for their testimony in this case, and all
            other information which could arguably be used for the impeachment of
            any Government witnesses.

         b. The Defendant requests any evidence that any prospective Government
            witness is biased or prejudiced against the Defendant, or has a motive to
            falsify or distort his or her testimony. See Brady v. Maryland, 373 U.S. 83
            (1963); United States v. Williams, 194 F.3d 886, 888 (8th Cir. 1999);
            Tejada v. Dugger, 941 F.2d 1551, 1558 (11th Cir. 1991); United States v.
            Strifler, 851 F.2d 1197, 1202 (9th Cir. 1988).

         c. The Defendant requests any evidence that any prospective Government
            witness has engaged in any criminal act, whether or not resulting in a
            conviction, including any such witness’ use of controlled substances or
            abuse of alcohol, and whether any witness has made a statement favorable
            to the Defendant. See FED. R. EVID. 608, 609 & 613. Such evidence is
            discoverable under Brady, 373 U.S. at 83. See Strifler, 851 F.2d at 1202.

         d. The Defendant requests any evidence that any prospective Government
            witness is under investigation by federal, state or local authorities for any
            criminal conduct. See United States v. Chitty, 760 F.2d 425, 428 (2d Cir.),
            cert. denied, 474 U.S. 945 (1985).

         e. The Defendant requests any evidence, including any medical or psychiatric
            report or evaluation, tending to show that any prospective Government
            witness’s ability to perceive, remember, communicate, or tell the truth is
            impaired; and any evidence that a witness has ever used narcotics or other
            controlled substance, or has ever been an alcoholic. See Strifler, 851 F.2d
            at 1202; Chavis v. North Carolina, 637 F.2d 213, 224-25 (4th Cir. 1980).
         Case 5:24-cr-00573-JKP      Document 48     Filed 03/19/25      Page 5 of 5
Page 5                                                           FEDERAL PUBLIC DEFENDER
                                                                      WESTERN DISTRICT OF TEXAS




         f. Lastly, the Defendant requests that the Government examine the personnel
            files and any other files within its custody, care or control, or which could
            be obtained by the Government, for all testifying witnesses, including
            testifying officers and agents. The Defendant requests that these files be
            reviewed by the Government attorney for evidence of perjurious conduct
            or other like dishonesty, or any other material relevant to impeachment, or
            any information that is exculpatory, pursuant to its duty under United
            States v. Henthorn, 931 F.2d 29, 30-31 (9th Cir. 1991). See United States
            v. Jennings, 960 F.2d 1488, 1492 (9th Cir. 1992).

   9) Jencks Act Material. The Defendant requests all material to which the
      Defendant is entitled pursuant to the Jencks Act, 18 U.S.C. § 3500, and
      Federal Rule of Criminal Procedure 26.2. The Defendant specifically requests
      pretrial production of these statements so that the court may avoid
      unnecessary recesses and delays for defense counsel to properly use any
      Jencks statements and prepare for cross-examination.

   10)      Grand Jury Transcripts. The Defendant requests the transcript and
      minutes from the grand jury proceedings regarding the Defendant’s case and
      indictment as provided by Federal Rule of Criminal Procedure 16(a)(3).


   11)        Continuing Disclosure. The Defendant also requests the prompt
      disclosure of any additional evidence or materials discovered before or during
      trial that fall within the instant discovery request. FED. R. CRIM. P. 16(c).

      Thank you for your cooperation in this matter. Please contact me if you have
any questions.

                                          Very truly yours,
                                          MAUREEN SCOTT FRANCO
                                          Federal Public Defender

                                          /S/

                                          MARINA-THAIS DOUENAT
                                          ASSISTANT FEDERAL PUBLIC DEFENDER
